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 9
                                 UNITED STATES DISTRICT COURT
10
                                          DISTRICT OF NEVADA
11

12    LISA MARIE BAILEY, individually,                    Case No.: 2:16-cv-02684-JAD-VCF
13                          Plaintiff,
                                                          PLAINTIFF LISA MARIE BAILEY’S
14    vs.                                                 OPPOSITION TO DEFENDANT’S
                                                          MOTION TO STAY PENDING THE
15    AFFINITYLIFESTYLES.COM, INC. d/b/a                  COURT’S DECISION ON DEFENDANT’S
      REAL ALKALIZED WATER, a Nevada                      MOTION TO COMPEL ARBITRATION
16    corporation; DOES I-X; and ROE BUSINESS
      ENTITIES I-X, inclusive,
17
                            Defendants.
18

19          Plaintiff, Lisa Marie Bailey (“Plaintiff”), by and through her counsel of record, the law firm
20   MAIER GUTIERREZ & ASSOCIATES, hereby files this opposition (“Opposition”) to Defendant
21   Affinitylifestyles.com, Inc. d/b/a Real Alkalized Water (“Defendant”)’s motion to stay pending the
22   Court’s decision on Defendant’s motion to compel arbitration (ECF No. 24).
23   ///
24   ///
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26   ///
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28   ///


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 1          This Opposition is made and based upon the following memorandum of points and authorities,

 2   the pleadings and papers on file herein, the exhibits attached hereto, and any oral argument at the time

 3   of the hearing.

 4          DATED this 14th day of June, 2017.

 5                                                     Respectfully submitted,

 6                                                     MAIER GUTIERREZ & ASSOCIATES
 7
                                                       _/s/ Danielle J. Barraza________________
 8                                                     JOSEPH A. GUTIERREZ, ESQ.
                                                       Nevada Bar No. 9046
 9                                                     DANIELLE J. BARRAZA, ESQ.
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10                                                     8816 Spanish Ridge Avenue
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11                                                     Attorneys for Plaintiff Lisa Marie Bailey
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 1                         MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.     INTRODUCTION
 3          After undisputedly waiving the right to compel arbitration by actively participating in the

 4   discovery process for months, Defendant has now filed a motion to stay the remaining month of

 5   discovery, which fully relies on the success of its untimely and meritless motion to compel arbitration.

 6          Discovery is nearly complete, and even though it consented to this Court having jurisdiction

 7   over this matter, approved and executed the discovery plan, and extensively participated in its own

 8   discovery (through noticing custodian-of-record depositions and issuing written discovery requests to

 9   Plaintiff), Defendant has now suddenly demanded not only arbitration but also a stay of the remaining

10   discovery, conveniently with the only discovery remaining being the depositions of members

11   Defendants’ company.

12          Granting a stay of discovery at this late stage would not only prejudice Plaintiff but it would

13   actually reward Defendant’s self-serving decision to wait until the last minute to file a motion to

14   compel arbitration. This conduct should not be condoned, which is why Plaintiff respectfully requests

15   that the Court deny Defendant’s motion to stay discovery.

16   II.    PROCEDURAL HISTORY
17          Although Plaintiff fully detailed the procedural history at length in response to Defendant’s

18   motion to compel arbitration, another look at the timeline is warranted to show just how blatantly

19   Defendant has waived any hypothetical right to compel this matter to arbitration, which correlates

20   with the unreasonable nature of its instant motion to stay the remaining month of discovery.

21          Plaintiff initiated this action on November 22, 2016 [ECF No. 1] after Defendant, her former

22   employer, subjected her to unwelcome religious propaganda, paid her less than her male counterpart,

23   and then terminated her for no legitimate reason while she was on a medical leave of absence, only to

24   replace her with a woman substantially younger than her.

25          In its Answer to Plaintiff’s complaint [ECF No. 29], filed on January 17, 2017, Defendant

26   admitted the following:

27          1. Responding to Paragraph 1 of Plaintiff’s Complaint, Defendant admits this action

28              is brought pursuant to Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e


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 1              et. seq., and that the Court possesses jurisdiction to entertain this matter
 2              pursuant to 28 U.S.C. 1331, but denies any wrongdoing or violations of these
 3              laws.

 4          2. Responding to Paragraph 2 of Plaintiff’s Complaint, Defendant admits that
 5              venue is proper in this judicial district, but denies any acts or omissions giving
 6              rise to any claims.

 7   See ECF No. 9 at p. 1 (emphasis added). Moreover, none of Defendant’s affirmative defenses makes

 8   any mention of the case needing to be dismissed due to a binding arbitration agreement. Id.

 9          Next, on February 3, 2017, the parties submitted a Joint Proposed Discovery Plan and

10   Scheduling Order [ECF No. 11], wherein Defendant fully consented to the parameters of discovery

11   and made no mention at all that it planned on filing a motion to compel arbitration or that it felt

12   discovery should be stayed.

13          Thereafter, Defendant continually displayed its assent to this Court retaining jurisdiction over

14   this matter by actively participating in discovery right away through noticing various depositions,

15   such as the depositions of Plaintiff’s former employers Wells Fargo and AppleOne, as well as the

16   deposition of the custodian of records of Urgent Care Extra and the Nevada Equal Rights Commission.

17   See Exhibit 1, Notice of Taking Deposition of Custodian of Records of Wells Fargo, National
18   Association; Exhibit 2, Notice of Taking Deposition of Custodian of Records of Urgent Care Extra –
19   Tropicana & Jones, LLC; Exhibit 3, Notice of Taking Deposition of Custodian of Records of Nevada
20   Equal Rights Commission; Exhibit 4, Notice of Taking Deposition of Custodian of Records of
21   Howroyd-Wright Employment Agency, Inc. dba AppleOne.

22          Defendant also issued written discovery requests to Plaintiff – another sign that Defendant had

23   no problems with participating in the discovery process under the rules of the District of Nevada

24   instead of under any arbitration program. See Exhibit 5, Defendant’s First Set of Interrogatories to
25   Plaintiff; Exhibit 6, Defendant’s First Set of Requests for Production of Documents to Plaintiff.
26          Even more telling is the fact that Defendant actively participated in the Early Neutral

27   Evaluation in this case on March 6, 2017, after first requesting and receiving Plaintiff’s permission to

28   stipulate to continuing the ENE from its original date not because of any notion that this case should


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 1   be in arbitration, but because Defendant’s counsel had a scheduling conflict. See ECF No. 15, Order

 2   Granting Stipulation to Continue the ENE.

 3          Then, on April 10, 2017, nearly five months after litigation on this case commenced,

 4   Defendant suddenly filed a motion to compel arbitration [ECF No. 17]. Plaintiff stresses that

 5   Defendant’s motion to compel arbitration is based on an employment agreement Plaintiff appears to

 6   have signed on her first day of work, dated April 4, 2016 (“the Employment Agreement”) – thus

 7   Defendant has had access to this Agreement this entire time, and even disclosed the Agreement over

 8   a month prior to filing the motion to compel arbitration.

 9          Defendant’s complete 180 degree reversal on its earlier statements and actions on this issue

10   literally come out of nowhere, and it appears that the only “justification” for Defendant filing a motion

11   at such a late stage in discovery is because it recently prevailed on a separate motion to compel

12   arbitration in a completely separate matter that has not been consolidated with this case. See

13   Echevarria-Hernandez v. AffinityLifeStyles.Com, Inc. 2017 U.S. Dist. LEXIS 45445, Case No. 2:16-

14   cv-00943-GMN-VCF (D. Nev. March 27, 2017).

15          Thereafter, the parties discussed potentially staying discovery pending a decision on the

16   motion to compel arbitration. Plaintiff only agreed to a limited stay, and the Court treated the limited

17   stay request as a request to extend discovery. ECF No. 22.

18          Discovery is now set to close in just a little over a month on July 24, 2017. Id.

19   III.   LEGAL ARGUMENT
20          A.      LEGAL STANDARD
21          The Court has inherent authority to grant a stay of litigation, as the “power to stay proceedings

22   is incidental to the power inherent in every court to control the disposition of the causes on its docket

23   with economy of time and effort for itself, for counsel, and for litigants.” Landis v. N. Am. Co., 299

24   U.S. 248, 254 (1936). This practice calls for “the exercise of judgment, which must weigh competing

25   interests and maintain an even balance.” Id. at 254-55.

26          Where it is proposed that a pending proceeding be stayed, the competing interests
            which will be affected by the granting or refusal to grant a stay must be weighed.
27          Among these competing interests are the possible damage which may result from the
            granting of a stay, the hardship or inequity which a party may suffer in being required
28          to go forward, and the orderly course of justice measured in terms of the simplifying


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 1          or complicating of issues, proof, and questions of law which could be expected to
            result from a stay.
 2

 3   CMAX, Inc. v. Hall, 300 F.2d 265, 268 (9th Cir. 1962).

 4          Here, the balances of interest clearly weigh in favor of Ms. Bailey, and as explained below,

 5   Real Water will suffer absolutely no hardship in moving forward with this matter

 6          As will be explained herein, even if there was an enforceable agreement to arbitrate,
 7   Defendant has waived any such right to enforce that agreement and has therefore waived the right
 8   to stay discovery, so the Motion should be denied.
 9          B.      DEFENDANT CANNOT STAY DISCOVERY BECAUSE IT HAS WAIVED ANY RIGHT TO
10                  COMPEL ARBITRATION
11          Defendant appears to be under the impression that it can simply “piggy-back” off of that ruling

12   and that it should automatically apply to this case, but such an argument is nonsensical, especially

13   when considering the different procedural postures between the Echevarria-Hernandez case and the

14   instant Bailey case at the time each respective motion to compel arbitration was filed.

15          First, Defendant never even filed an Answer in the Echevarria-Hernandez case, opting to

16   immediately file a motion to compel arbitration in its responsive pleading less than one month after

17   Plaintiff filed her Complaint in that matter. As such, Plaintiff was on ample notice from the very

18   beginning that Defendant believed the matter fell under the scope of an arbitration agreement and that

19   Plaintiff was not allowed to litigate her claims in Court.

20          Further, as noted in the “Statement Regarding Exemption from Early Neutral Evaluation” in

21   the Echevarria-Hernandez matter (ECF No. 13), Defendant actually refused to participate in an Early

22   Neutral Evaluation specifically because it did not want to waste the Court’s resources because “this

23   Complaint should never have been filed in district court due to the arbitration agreement.” See Exhibit
24   7, Defendant’s Statement Regarding Exemption from ENE in the Echevarria-Hernandez Matter.
25          The fact that Defendant refused to conduct itself in the same manner in this case is telling, and

26   Plaintiff relied upon those differences and the lack of any indication that Defendant wanted to bring

27   this matter to arbitration in planning for discovery and participating in the ENE in good faith. This is

28   a clear-cut case of a defendant waiving any hypothetical right to arbitration that may have existed,


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 1   and Plaintiff requests that the Court deny the egregiously untimely motion in its entirety pursuant to

 2   the three Fisher standards delineated in Fisher v. A.G. Becker Paribas Inc., 791 F.2d 691 (9th Cir.

 3   1986).

 4            As for the first factor, knowledge of an existing right to arbitration, Defendant arguably was

 5   on notice of an existing right to arbitration from the inception of this case, as this case was not initiated

 6   until November 22, 2016, which is well after the Echevarria-Hernandez matter (which was initiated

 7   in April of 2016) was already deep in discovery, and therefore beyond the date that Defendant had

 8   filed its motion to compel arbitration in the Echevarria-Hernandez matter in May of 2016. Thus,

 9   Defendant has no valid argument that it wasn’t on notice of an employment agreement with an

10   arbitration clause at the start of this case, as it had already been involved in another matter and set

11   forth that same argument before Plaintiff even filed her Complaint.

12            Even giving Defendant the benefit of the doubt and assuming that it had a memory lapse that

13   prevented it from either remembering that its employment agreements contain arbitration provisions

14   or that this specific Plaintiff consented to the arbitration provision, Defendant was undisputedly on

15   notice from at least March 2, 2017 (the date it finally disclosed its initial documents in this case) that

16   there was an employment agreement with an arbitration provision, as that is when the employment

17   agreement was produced. Plaintiff sat on this disclosure for over a month, again giving Plaintiff no

18   notice that it was planning on seeking to enforce any kind of arbitration provision that Plaintiff may

19   have signed, and is only now bringing forth the instant motion because of the Echevarria-Hernandez

20   ruling, all while blatantly ignoring all of the signs that it has given to Plaintiff (and the Court) that it

21   has no issues with litigating this matter in a judicial forum.

22            As for the second Fisher factor, acts inconsistent with that existing right, it cannot be stressed

23   enough just how inconsistently Defendant has acted with any supposed right he has to send this case

24   to arbitration. Defendant filed an Answer without asserting any affirmative defenses related to a desire

25   to arbitrate Plaintiff’s claims. Defendant’s Answer actually conceded that this Court has proper

26   jurisdiction and venue to address Plaintiff’s Complaint. Defendant has gone through over half the

27   entire discovery period, including noticing its own depositions and written discovery requests to

28   Plaintiff, without ever mentioning any desire to dismiss the case and compel arbitration. Defendant


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 1   even attended the Early Neutral Evaluation (which is only required for cases properly before the

 2   District of Nevada), again without mentioning that it felt this case should be in arbitration.

 3          There is an abundance of legal authority that suggests Defendant’s decision to actively litigate

 4   this matter is indicative of a waiver of its arbitration rights (should it have any), which goes hand in

 5   hand with the third Fisher factor, prejudice to the party opposing arbitration due to the inconsistent

 6   acts. See Van Ness Townhouses v. Mar Indus. Corp., 862 F.2d 754, 759 (9th Cir. 1988) (the Ninth

 7   Circuit found a waiver because “Shearson chose instead to litigate actively the entire matter—

 8   including pleadings, motions, and approving a pre-trial conference order—and did not move to

 9   compel arbitration until more than two years after the appellants brought the action.”). See e.g., Kelly,

10   552 Fed.Appx. at 664 (finding prejudice when the defendants waited eleven months to compel

11   arbitration); Joca-Roca Real Estate, LLC v. Brennan, 772 F.3d 945, 949, 951 n. 7 (1st Cir. 2014)

12   (finding prejudice with a nine-month delay after the filing of the complaint); Gray Holdco, Inc. v.

13   Cassady, 654 F.3d 444, 454–55 (3d Cir. 2011) (holding that a ten-month delay before moving to

14   compel, while not dispositive, weighed in favor of waiver); Messina v. N. Cent. Distrib., Inc., 821

15   F.3d 1047, 1051 (8th Cir.2016) (finding prejudice after an eight month delay); and In re Mirant, 613

16   F.3d at 591 (considering litigation expenses in prejudice inquiry after defendant waited 18 months

17   before moving to compel arbitration).

18          Expanding on the prejudice factor, this case is strikingly similar to In re Toyota Motor Corp.

19   Unintended Acceleration Mktg., Sales Practices, & Prod. Liab. Litig., 838 F. Supp. 2d 967, 979 (C.D.

20   Cal. 2012), in which a defendant irrationally encouraged plaintiffs to pursue litigation before seeking

21   to compel arbitration:

22          By failing to assert a right to compel arbitration until now, Toyota has encouraged
            Plaintiffs to pursue their current litigation strategy, including pursuing their claims
23          on a class-wide basis in a federal forum. Arbitration and litigation differ so much
            in form and procedure that the substance of a competent advocate's everyday
24
            decisions are necessarily shaped by and based on the method of adjudication.
25          Litigation provides greater discovery, but at a much greater cost. Arbitration
            provides a more speedy resolution of an individual's claim, but lacks the
26          efficiencies occasioned by class treatment of claims. Because Plaintiffs have been
            permitted to continue on their present path of class-wide litigation for so long,
27          they would be prejudiced if their claims were required to be submitted to
            arbitration now.
28


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 1          As detailed above, class counsel have expended enormous amounts of resources in
            providing and reviewing discovery and engaging in motions practice before the
 2          Court and the Special Masters. They have engaged the services of experts. They
            have sought substantial third-party discovery. In the absence of an indication of
 3          an intent to compel arbitration, they have expended thousands of attorney hours
            prosecuting the present litigation in its present form. These activities would not
 4          have occurred in an individual arbitration. They represent not only expenditures
            of money, but also expenditures of the valuable commodity of class counsel's time.
 5

 6   Id. (emphasis added).

 7          The reality is Plaintiff has planned out her entire litigation strategy and discovery methods

 8   based on Defendant’s undisputed indications that this case is properly before the Court and not

 9   suitable for arbitration. The case is simply far too along for the Court to equitably grant Defendant’s

10   motion at this late stage, with only two months of discovery remaining. See Martin v. Yasuda, 829

11   F.3d 1118, 1127 (9th Cir. 2016) (“When a party has expended considerable time and money due to

12   the opposing party's failure to timely move for arbitration and is then deprived of the benefits for

13   which it has paid by a belated motion to compel, the party is indeed prejudiced.”). Accordingly,

14   Plaintiff respectfully requests that the Court deny Defendant’s motion to stay discovery on the grounds

15   of waiver.

16          C.      A STAY OF DISCOVERY AT THIS LATE STAGE WOULD ONLY PREJUDICE PLAINTIFF
17                  – NOT DEFENDANT
18          It cannot be denied what Defendant is trying to do here: participate in discovery as it sees fit

19   and benefit from Plaintiff having to respond to written discovery requests, but then claim unfairness

20   and rush to compel arbitration when Plaintiff wants to complete the discovery process through

21   depositions. Defendant cites to a litany of case law in support of its motion, but the facts in those

22   cases all link to one common denominator that is missing here: a defendant timely and immediately

23   filing for a motion to compel arbitration and to stay discovery as soon as litigation started, instead of

24   sitting on its rights and only seeking to stay discovery after it had substantially participated in the

25   process by sending out written discovery requests and setting depositions.

26          For example, Defendant heavily cites to Andrus v. D.R. Horton, Inc., No. 2:12-CV-00098-

27   ECR, 2012 WL 1971326, at *3 (D. Nev. June 1, 2012), a case it claims is “nearly identical” to this

28   case, but that case involved a defendant refusing to sign off on the plaintiff’s proposed discovery plan


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 1   and scheduling order because it had already filed a motion to compel arbitration and a motion to stay

 2   proceedings and did not agree to the scope of discovery plaintiff was suggesting. See id. at *1.

 3           The list of cases Defendant cites to goes on, with Defendant blatantly ignoring that all of those

 4   other defendants actually preserved their right to compel, unlike Defendant. See, e.g. Coneff v. AT &

 5   T Corp., No. C06-0944RSM, 2007 WL 738612, at *1 (W.D. Wash. Mar. 9, 2007) (“Shortly after

 6   plaintiffs   filed   this   action,   defendants   filed   a    Motion    to   Compel      Arbitration.”);

 7   Merrill Lynch, Pierce, Fenner & Smith Inc. v. Coors, 357 F. Supp. 2d 1277, 1277 (D. Colo. 2004)

 8   (the Complaint was filed on August 3, 2004, and defendant filed a motion to stay discovery just two

 9   months later on October 7, 2004); Cunningham v. Van Ru Credit Corp., No. 06-10452, 2006 WL

10   2056576, at *1 (E.D. Mich. July 21, 2006) (Complaint was filed on February 1, 2006, and Defendant

11   immediately filed a motion to compel arbitration on April 17, 2006 followed by a motion to stay

12   discovery on April 21, 2006 without participating in discovery).

13           Indeed, the only case Plaintiff could find that actually does closely resemble the facts herein

14   is Jones v. Deutsche Bank AG, No. C 04 5357 FW RS, 2007 WL 951811, at *1 (N.D. Cal. Mar. 28,

15   2007), where a Court rightfully denied a motion to stay discovery pending a decision on a motion to

16   compel arbitration because the defendant unreasonably waited until the parties were deep in discovery

17   before filing a motion seeking to compel arbitration and stop the discovery process:

18           Deutsche Bank asserts that it moved to compel arbitration promptly upon learning of
             the agreement containing the arbitration agreement. Plaintiff contends that Deutsche
19           Bank knew or should have known of the arbitration provision long ago, given various
             disclosures made at earlier points in time. Regardless of when it did learn, or could
20           have learned, of the arbitration clause, Deutsche Bank contends that any delay in
             bringing the motion presents only a question of possible waiver of the right
21           to arbitrate, which it asserts, is a question for the arbitrator to decide. Even assuming
             Deutsche Bank is correct that the arbitrator will be making the waiver decision in the
22           event there is otherwise a right to arbitrate, that does not change the fact that
             the motion is being brought comparatively late in this litigation process, and long
23           after the parties (and the Court) have expended considerable resources in discovery
             and other proceedings
24

25   Jones v. Deutsche Bank AG, No. C 04 5357 FW RS, 2007 WL 951811, at *1 (N.D. Cal. Mar. 28, 2007)

26   (emphasis added). Thus, while the Jones Court noted that “this is not a routine case,” it held that the

27   Bank “failed to establish that the Court should exercise its discretion in favor of a stay, and denied the

28   stay request. Id. at * 2.


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 1          That is exactly what this Court should do here. Instead of rewarding Defendant for sleeping

 2   on any hypothetical arbitration rights and only seeking to stay discovery at its own convenience, the

 3   Court should deny this motion and allow the parties to proceed with the remaining month of discovery,

 4   which is what the balance of the equities calls for, per the Jones decision:

 5          Although Deutsche Bank argues that it should not be placed in a worse position
            simply as a result of having not been aware of the arbitration provision at the outset
 6          of this case, the balancing of competing interests is necessarily different under the
            present circumstances than it would be at the beginning of litigation. A party
 7          claiming a right to arbitrate can persuasively argue that it should not be exposed to
            the risk that it will have unnecessarily begun discovery should arbitration
 8          subsequently be compelled. Deutsche Bank’s present argument that it should not
            be required to take the risk that additional discovery will prove to have been
 9          unnecessary has significantly less force. Conversely, the risk that a stay will cause
            prejudice to the parties and to the orderly management of the Court's docket in the
10          event arbitration is not compelled is far greater at this point in the proceedings
            than it would be in a newly-filed case.
11

12   Id. at *1. Defendant insists that “at worst, discovery may commence a few weeks or months later than

13   Plaintiff would prefer, but discovery will undoubtedly be had.” ECF No. 24 at p. 6. This completely

14   ignores the fact that discovery will inevitably grow stale if Plaintiff is forced to hold off on the

15   depositions she has already noticed, and memories will inevitably fade which will only help Defendant

16   and prejudice Plaintiff.

17          Defendant simply should not be able to benefit in the discovery process by exhausting

18   Plaintiff’s memory via written discovery requests, and then expect Plaintiff to hold off for months,

19   and potentially a year, before she can conduct depositions that will also exhaust the memories of

20   members of Defendant’s company.

21          Accordingly, Plaintiff requests that the motion to stay discovery – which is actually a motion

22   to stay additional discovery, as discovery is nearly complete – be denied in its entirety.

23   D.     CONCLUSION
24          Based on the above, Defendant has no valid argument to stay the remainder of discovery. The

25   entire motion is based on the success of Defendant’s untimely and meritless motion to compel

26   arbitration, which Defendant only filed after acknowledging this Court has jurisdiction over this

27   matter and then fully participating in the discovery process by issuing deposition notices and written

28   discovery requests. Plaintiff respectfully requests that this Court deny Defendant’s Motion in its


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 1   entirety and allow the litigation to proceed under this Court’s jurisdiction.

 2          DATED this 14th day of June, 2017.

 3                                                      Respectfully submitted,

 4                                                      MAIER GUTIERREZ & ASSOCIATES
 5
                                                        _/s/ Danielle J. Barraza________________
 6                                                      JOSEPH A. GUTIERREZ, ESQ.
                                                        Nevada Bar No. 9046
 7                                                      DANIELLE J. BARRAZA, ESQ.
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 8                                                      8816 Spanish Ridge Avenue
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 9                                                      Attorneys for Plaintiff Lisa Marie Bailey
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 1                                     CERTIFICATE OF SERVICE
 2          I hereby certify that on the 14th day of June, 2017, I served a true and correct copy of the

 3   foregoing PLAINTIFF LISA MARIE BAILEY’S OPPOSITION TO DEFENDANT’S
 4   MOTION TO STAY PENDING THE COURT’S DECISION ON DEFENDANT’S MOTION
 5   TO COMPEL ARBITRATION via electronic mail and by depositing a true and correct copy of the
 6   same, enclosed in a sealed envelope upon which first class postage was fully prepaid, in the U.S. Mail

 7   at Las Vegas, Nevada, addressed to the following parties:

 8
                                          Deverie Christensen, Esq.
 9                                        Philip C. Thompson, Esq.
                                             JACKSON LEWIS P.C.
10                                3800 Howard Hughes Parkway, Suite 600
                                          Las Vegas, Nevada 89169
11                            Attorneys for Defendant Affinitylifestyles.com, Inc.
                                          d/b/a Real Alkalized Water
12

13
                                                     /s/ Natalie Vazquez
14                                                   An Employee of MAIER GUTIERREZ & ASSOCIATES

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